Case 2:04-cr-20307-.]P|\/|-de Document 70 Filed 08/26/05 Page of 2 Page|D 109
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UNITED STATES OF AMERICA WF.} o; c., :i= .lPH§S
VS.
No. 04-20307
KENNETH GRAY,
Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION FOR CONTINUANCE

 

Before the Court is Defendant Kenneth Gray’s Motion for Continuance. The
Court finds that the United States has no objection to the continuance and that both
parties need additional time to prepare the case for trial. The Court further finds that
Defendant has no objection to the time being excluded for purposes of the Speedy Trial
Act.

It is TI-IEREFORE, ORDERED, ADJUDGED AND DECREED that Defendant’S
request for a continuance is grantedl And the case is reset from August 26, 2005 at 9:00

rd
a.m. until the §§ day of September, 2005 at 9100 a.m.

Entered this the O?‘S day of 9“§ , 2005.

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ted States District Court Judge

 

Tlils document entered on the docket sheet in compliance
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Honorable J on McCalla
US DISTRICT COURT

